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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Dena Burge,                                         Civil No. 14cv00680 PAM/BRT

                   Plaintiff,

v.                                                  ORDER OF DISMISSAL

Pinnacle Financial Group,
Inc., et al.,

                   Defendants.

      ________________________________________________________

      The court having been advised that the above case has been settled,

      IT IS HEREBY ORDERED that this action is dismissed, without prejudice, the

Court reserving jurisdiction for sixty (60) days to permit any party to move to reopen

the action, for good cause shown, or to submit and file a stipulated form of final

judgment.



Dated: May 7, 2015

                                              s/Paul A. Magnuson
                                             Paul A. Magnuson, Judge
                                             United States District Court
